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     DECLARATION OF
      GEORGE LEVITTE
        REGARDING
        GOOGLE AD
     MANAGER PROFITS

      Redacted Version
    of Document Sought
        to be Sealed
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              8                                      UNITED STATES DISTRICT COURT

              9                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

             10    CHASOM BROWN, et al., on behalf of               Case No. 4:20-cv-03664-YGR-SVK
                   themselves and all others similarly situated,
             11                                                     DECLARATION OF GEORGE LEVITTE
                                       Plaintiffs,                  REGARDING GOOGLE AD MANAGER
             12                                                     PROFITS
                            vs.
             13                                                     Judge: Hon. Yvonne Gonzalez Rogers
                   GOOGLE LLC,
             14                                                     Date: September 20, 2022
                                       Defendant.                   Time: 2:00 p.m.
             15                                                     Location: Courtroom 1 – 4th Floor

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              1             I, George Levitte, declare as follows:

              2             1.         I am currently a Group Product Manager for Google Ad Manager. I make this

              3    declaration on the basis of my personal knowledge and if called as a witness would competently

              4    testify thereto.

              5             2.         I have been employed at Google since 2014. I started as a Product Manager for Real-

              6    Time Bidding, and in 2017, expanded to work on several other areas of Google’s advertising

              7    platform. During my time at Google, I’ve worked on projects across various ads businesses,

              8    including Google Ad Manager (previously two separate products - DoubleClick for Publishers and

              9    DoubleClick Ad Exchange), AdMob, and AdSense. Since 2019, I have been part of the Ad Manager
             10    leadership team. I manage a team of product managers and am responsible for many components of

             11    ads monetization, including the Ad Manager auction. Currently, my team’s scope of responsibilities

             12    includes the core auction itself, auction optimizations, Google’s real-time bidding services, and

             13    several other parts of Ad Manager. I consider myself a subject matter expert for all ad monetization

             14    features of Ad Manager.

             15             3.         I am informed that Plaintiffs in this lawsuit allege Google improperly collected five

             16    categories of data when users visit websites that use Google web-services, including Google Ad
             17    Manager services, regardless of whether users are browsing while in private browsing mode.

             18    According to Plaintiffs, the five categories of data (the “Data”) that Google improperly collected

             19    are: (a) the GET request sent from the user’s computer to a website; (b) the IP address of the user;

             20    (c) any user-id issued by the website to the user; (d) geolocation of the user; and (e) information

             21    contained in “Google cookies.” Dkt. No. 395-3, Third Amended Complaint ¶ 63.

             22             4.         I understand that Plaintiffs’ class definition is:

             23             Class 1 – All Chrome browser users with a Google account who accessed a non-Google
                            website containing Google tracking or advertising code using such a browser and who
             24             were (a) in “Incognito mode” on that browser and (b) were not logged into their Google
                            account on that browser, but whose communications, including identifying information
             25
                            and online browsing history, Google nevertheless intercepted, received, or collected from
             26             June 1, 2016 through the present.

             27             Class 2 – All non-Chrome browser users with a Google account who accessed a non-
                            Google website containing Google tracking or advertising code using any such browser
             28             and who were (a) in “private browsing mode” on that browser, and (b) were not logged

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              1             into their Google account on that browser, but whose communications, including
                            identifying information and online browsing history, Google nevertheless intercepted,
              2             received, or collected from June 1, 2016 through the present.
              3    Id. ¶ 192.
              4             5.         I also understand that Plaintiffs seek to certify two classes:
              5             Class 1 – All Chrome browser users with a Google account who accessed a non-
              6             Google website containing Google tracking or advertising code using such browser
                            and who were (a) in “Incognito mode” on that browser and (b) were not logged into
              7             their Google account on that browser, but whose communications, including
                            identifying information and online browsing history, Google nevertheless
              8             intercepted, received, or collected from June 1, 2016 through the present.
              9             Class 2 – All Safari, Edge, and Internet Explorer users with a Google account who
             10             accessed a non-Google website containing Google tracking or advertising code
                            using such browser and who were (a) in a “private browsing mode” on that browser
             11             and (b) were not logged into their Google account on that browser, but whose
                            communications, including identifying information and online browsing history,
             12             Google nevertheless intercepted, received, or collected from June 1, 2016 through
                            the present.
             13

             14    Dkt. No. 608-3, Plaintiffs’ Motion for Class Certification at 1.

             15             6.         I further understand that Plaintiffs allege that Google improperly used the Data from

             16    Putative Class Members to augment its advertising profits.

             17             7.         In summary, Google does not calculate advertising profits on a per-individual-user

             18    basis. Nor does Google calculate advertising profits on the basis of the Data as defined by Plaintiffs.

             19    Further, it would be impossible to calculate Google’s advertising profits from each Putative Class

             20    Member. To explain this conclusion, I provide some background on Google’s Ad Manager and

             21    AdSense products and the way that they monetize user data.

             22             8.         Google Ad Manager is an ad management platform that includes publisher ad server

             23    functionality (previously known as DFP / DoubleClick for Publishers) and ad exchange

             24    functionality (previously known as AdX / DoubleClick Ad Exchange). An “ad server” is a

             25    technology platform that can host and serve advertisements, including display advertisements. An

             26    “ad exchange” is a technology platform that facilitates the programmatic selling and buying of ad

             27    inventory. These exchanges create a marketplace where ads can be bid on, like an auction, and

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              1             16.        As part of this process, the prices for online advertising space are set by the various

              2    advertising companies that place bids for the space. These advertising companies often rely on user

              3    data, including data they have themselves collected or purchased through a third-party, to determine

              4    how much to bid. As such, some of the advertising revenue Ad Manager and AdSense receive

              5    depends on user data collected by third-party advertising companies.

              6             17.        Non-programmatic advertising involves traditional marketing where a publisher

              7    receives order details from an advertiser or advertising agency. For this type of advertising, Google

              8    Ad Manager does not have a technical interaction with the advertiser. Rather, Google Ad Manager

              9    selects the line item requested by the publisher. The publisher, in turn, bills the advertiser or
             10    advertising agency. The revenue Google Ad Manager receives from this type of advertising is

             11    determined by a fixed fee and does not depend on user Data, as described in Paragraph 12..

             12             18.        For these reasons, the entirety of revenues from Google Ad Manager and AdSense

             13    are not proportional to the revenues publishers obtain.

             14             19.        In the regular course of business, Google does not separate out the Ad Manager

             15    revenue attributed to the use of Data received from the browsing of any particular individual or a

             16    set of individuals who browsed while in private browsing mode. Nor does Google separate Ad
             17    Manager revenue attributed to user Data in general.

             18             20.        Further, Google Ad Manager does not, in the ordinary course, keep track of the

             19    monetary value it receives from a particular individual. Given the way that user data is incorporated

             20    into the Ad Manager product, there is no way to calculate revenue or profits derived from a particular

             21    individual. Nor is there a way to calculate profits derived from individuals who use the Chrome

             22    Browser specifically, much less those individuals who browsed while in Incognito mode, or those

             23    individuals who use any other browser’s private browsing mode.

             24             21.         The monetary value both Ad Manager and AdSense derive through programmatic

             25    advertising is based on the auction clearing price for advertising space, which is ultimately set by

             26    bidders, in part, based on a variety of characteristics of the target audience. Google Ad Manager and

             27    AdSense usually do not have visibility into why advertisers bid a certain price for advertising space,

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              1    and, as explained in Paragraph 16, bidders often have access to additional user data that Google Ad

              2    Manager does not have visibility into.

              3             22.        Bidding prices, and thus the ultimate revenue Google Ad Manager and AdSense

              4    receive for programmatic advertising can vary dramatically based on several user characteristics.

              5    Therefore, over a single fixed time period, Google Ad Manager and AdSense will derive more

              6    revenue from some users than others. For example, depending on the ad space at issue, user

              7    browsing and shopping behaviors, and even the month or season during which the bidding occurs,

              8    Google Ad Manager may derive more value from a user located in Lower Manhattan than a user

              9    located in a rural region of Alabama, because advertisers may bid more to show ads to the user in
             10    Lower Manhattan. As another example, Google Ad Manager may derive more value from a user

             11    browsing on an iOS device than a user browsing on an Android device because advertisers may bid

             12    more to show ads to the iOS user.

             13             23.        Google Ad Manager does not measure profits as a function of how many times a user

             14    browses while in private browsing mode. Moreover, dividing Google Ad Manager or AdSense

             15    profits by the total number of Google account holders browsing in private browsing mode while

             16    signed out of their Google account would arrive at an average that would be wildly larger than the
             17    real value derived from some users, and wildly smaller than the real value derived from other users.

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              1             I declare under penalty of perjury under the laws of the United States of America that the

              2    foregoing is true and correct to the best of my knowledge. Executed in New York, New York on

              3    August , 2022.

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              6                                                       George Levitte
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